Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 1 of 45 PageID: 1

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Jacquelyn Reaves

PO Box 93                                                            RECEIVt:D
Pelham, North Carolina 273 I I
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Jacguelvn.Reaves@gmail.com
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(201)647-9971 (c)                                                       WILLIAM T WALSH -
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Pro Se                                                                                        .    I!
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                                 UNITED STATES DISTRICT COURT

                                 DISTRICT OF CAMDEN NEW JERSEY



 JACQUELYN REA YES                                           Case Action No.
            Plaintiff,
                                                             COMPLAINT
                   -against-
                                                       Trial By Jury Demand
 MONMOUTH UNIVERSITY                                 (Medical/Professional Malpractice/
 JOANNE JODRY                                            Criminal Misconduct)
 GEORGE KAPALKA
 GREY DIMMENA
 NINA ANDERSON
 CHARLENE DIANA
 MARYANNE NAGY
 FRANCA MANCINI
 NEPTUNE CITY POUCE
 KEITH MITCHELL
 MICHAEL VOLBRECHT
 EDWARD KIRSCHENBAUM
 MONMOUTH UNIVERSITY POLI CE
 JEFF LAYTON
 WILLIAM MCELRATH
 MONMOUTH MEDICAL CENTER
 DALE RAFINELLO;
 ANTHONY TRAC HT A;
 AMINA CHOWDHURY;
 MATTHEW GELLER;
 VIRGINIA KINNEMAN;
 JACKLYN SANTIAGO
 TRENTON PSYCHIATRJC HOSPITAL;
 PATRICK ERVILUS ;
 ROBERT WOOD JOHNSON UNIVERSITY
 HOSPITAL;
 JAMES MCCALLUM;
 ROBERT CA VELLA;
 KA TfE OZOLINS;
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 2 of 45 PageID: 2

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Plaintiff, Jacquelyn Reaves, for her Complaint against Defendants, states as follows:


                                       PRELIMINARY STATEMENT


    1.   This case arises out of the illegal and unlawful actions perpetrated by Defendants upon Plaintiff

         which caused several violations of Plaintiffs rights and person as well as severe extensive and

         irreparable damage.



    2. Defendant(s) actions resulted in continual and relentless retaliation against Plaintiff contrary to

         State and Federal Law, public policy, and human rights, between December 2014 through 2019.

    3.   Plaintiff complains pursuant to Title IX, 42 U.S.C 1981, 42 U.S.C 1983, 42 U.S.C. 1985, 42

         U.S.C 1988, N.J.S.A. 2C:16-l, et. seq, N.J.S.A. 2C:12-1, et. seq. , N.J.S.A. 2C-12-10, N.J.S.A

         2C:33-4, and N .J .S.A 2C:30-2. Further, Plaintiff challenges the New Jersey statute of limitations

         for medical malpractice, N.J.S.A. 2A:14-2 (a), based on the repeated deliberate and intentional

         violations of her personal rights and human rights, the statute of limitations for legal malpractice,

         N.J.S.A 2A: 14-1 , based on the deliberate illegal and cruel violations of Plaintiff's civil liberties,

         and incurable reputational harm and damaged the malicious and intentional assaults have caused

         her irreparable physical and mental harm; and, she also challenges the statute of limitations based

         on police misconduct due to the deliberate and severe manner Plaintiff's body and rights were

         violated without cause by police for extended periods of time based on a concocted and phony

         story. For this reason, the Court shall relax these perspective periods and value each statute on a

         per incident, per person, per profession/licensed professional, and properly seeks damage to

         redress the injuries she has suffered as a result of being harassed, assaulted, abused, victimized,

         and retaliated against by individuals in the legal field , the medical field , and in law enforcement

         solely due to her race, ethnicity, and her race, ethnicity, and gender.


                                       JURISDICTION AND VENUE
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 3 of 45 PageID: 3

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  4.   This Court has supplemental jurisdiction over this controversy pursuant to over Plaintiff's claims

       brought under federal law 28 USC 133 I, 1337, and 1343.

  5.   Venue is proper pursuant to 28 USC 1391 (b) I, and it is brought to the District of Camden since

       this is the county "any defendant resides" and "all defendants are residents of the State in which

       the district is located".

  6.   Plaintiff filed Notice of Claim with the New Jersey Department of Treasury and Risk

       Management in July 2016, and October 20 I 9.

  7.   On May 11 u,, 2021, the State of New Jersey issued its Dismissal and Notice of Rights letter

       providing Plaintiff with her right to sue.


                                             THE PARTIES


  8.   Plaintiff, Jacquelyn Reaves (hereinafter, " Plaintiff") is an individual and resided in the State of

       New Jersey, in the County of Monmouth and Somerset County, during the timeframe in question.

  9.   Upon infonnation and belief, Defendant Monmouth University (hereinafter, "Monmouth

       Univers ity") is a college licensed to do business in the State of New Jersey, with a location at 400

       Cedar Avenue, West Long Branch, New Jersey 07764.

   I 0. Upon infonnation and belief, Defendant Joanne Jodry (hereinafter, "Jodry") is a licensed

       professional counselor (license#: 37PC00028400, and 37LC00 117800), residing in the State ofNew

       Jersey, County of Monmouth.

   11 . Upon information and belief, Defendant George Kapalka (hereinafter, " Kapalka") is a licensed

       psychologist (license#: 35S I00283500), residing in the State of New Jersey, County of Ocean.

   12. Upon infonnation and belief, Defendant Grey Dimenna was a licensed attorney (Attorney ID

       000731979), residing in the State of ew Jersey, County of Monmouth.

   13 . Upon information and belief, Defendant Nina Anderson (hereinafter, " Anderson") is a licensed

       attorney in the State of Wisconsin (ID 1047005), residing in the State ofNew Jersey, County of

       Monmouth.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 4 of 45 PageID: 4

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  14. Upon infonnation and belief, Defendant Charlene Diana is a licensed attorney (Attorney ID

      015922003), residing in the State ofNew Jersey, County of Monmouth.

  15. Defendant Mary Anne Nagy (hereinafter, "Nagy") is an individual, residing in the State of New

      Jersey, County of Monmouth .

  16. Defendant Franca Mancini is an individual with and expired professional counselor license

      (37PC00222 I 00), residing in the State of New Jersey, County of Monmouth.

  17. Upon information and belief, Defendant Neptune City Police (hereinafter, "Neptune City Police")

      is a state policing entity, with a location at I 06 West Sylvania Avenue, Neptune, New Jersey

      07735 .

  18. Upon information and belief, Defendant Keith Mitchell (hereinafter, "Mitchell") is a police

      officer, residing in the State of New Jersey, County of Monmouth.

  19. Upon information and belief, Defendant Michael Volbrecht (hereinafter, "Vollbrecht") is a police

      officer, residing in the State of New Jersey, County of Monmouth.

  20. Upon infonnation and belief, Defendant Edward Kirschenbaum (hereinafter, "Kirschenbaum") is

      a police officer, residing in the State of New Jersey, County of Monmouth .

  21 . Upon infonnation and belief, Defendant Monmouth University Police (hereinafter, "Monmouth

      University Police") is a state policing entity, with a location at 400 Cedar Avenue, West Long

      Branch, New Jersey, 07764.

  22. Upon infonnation and belief, Defendant Jeff Layton (hereinafter, "Layton") is a police officer,

      residing in the State of New Jersey, County of Monmouth.

  23. Upon infonnation and belief, Defendant William McElrath (hereinafter, "McElrath") is a police

      officer, residing in the State of New Jersey, County of Monmouth.

  24 . Upon infonnation and belief, Defendant Monmouth Medical Center (hereinafter, "Monmouth

      Medical"), is a medical facility licensed to do business in the State of New Jersey with a location

      at 300 Second A venue, Long Branch, New Jersey 07764.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 5 of 45 PageID: 5

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  25. Upon information and belief, Defendant Dale Rafaniello (hereinafter, " Rafaniello") is a registered

      nurse (license#26NR06597300), residing in the State ofNew Jersey, County of Monmouth.

  26. Upon information and belief, Defendant Anthony Trachta (hereinafter, "Trachta") is an individual

      with an expired licensed clinical social worker license (license#: (license#: 44SC05498000),

      residing in the State of New Jersey, County of Monmouth .

  27. Upon information and belief, Defendant Amina Chowdhury (hereinafter, "Chowdhury" is a

      licensed medical doctor (license#: 25MA08 l 79400), residing in the State of New Jersey, County

      of Monmouth .

  28. Upon information and belief, Defendant Matthew Geller (hereinafter, "Geller") is a licensed

      medical doctor (license# : 25MA07 l 9 l 600), residing in the State of New Jersey, County of

      Monmouth.

  29. Upon information and belief, Defendant Virginia Kinneman (hereinafter, "Kinneman") is a

      licensed clinical social worker (license#: 44SC05379600), residing in the State of New Jersey,

      County of Monmouth.

  30. Upon information and belief, Defendant Jacklyn Santiago (hereinafter, " Santiago") is a licensed

      clinical social worker (license#: 44SC055790500), residing in the State of New Jersey.

  31. Upon information and belief, Defendant Trenton Psychiatric Hospital (hereinafter, "Trenton

      Psych"), is a psychiatric facility licensed to do business in the State of New Jersey with a location

      of 101 Sullivan Way, Ewing, New Jersey 08628.

  32. Upon information and belief, Defendant Patrick Ervilus (hereinafter, " Ervilus") is a registered

      nurse (license#: 26NO10322000), residing in the State ofNew Jersey, County of Camden.

  33 . Upon information and belief, Defendant Robert Wood Johnson University Hospital (hereinafter,

      " RWJ") is a medical facility licensed to do business in the state of New Jersey with a location at

      110 Reh ill Avenue, Somerville, New Jersey 08876.

  34. Upon information and belief, Defendant Robert A. Cavella (hereinafter, "Cavel la") is a licensed

      clinical social worker (44SC05944600), residing in the State of New Jersey, County of Somerset.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 6 of 45 PageID: 6

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  35. Upon information and belief, Defendant James McCallum (hereinafter, "McCallum") is a

      registered nurse (license number unknown), residing in the State of New Jersey, County of

      Somerset.

  36. Upon information and belief, Defendant Katie Ozolins (hereinafter, "Ozolins") is a licensed

      clinical social worker (license#: 44SC05600400), residing in the State of New Jersey, County of

      Somerset.

  3 7. Venue is proper in this Court because (I) parties are located or reside in New Jersey; and (2) the

      acts and circumstances upon which Plaintiff's claims are based arose and/or occurred in several

      counties in New Jersey Monmouth, Mercer, Union, and Somerset County.


                     FACTUAL ALLEGATIONS COMMON TO ALL COUNTS


  38. Plaintiff was a graduate student at Monmouth University on or about September 2014, located in

      West Long Branch, New Jersey, and she lived in off-campus housing she paid the university for.

  39. Plaintiff intended to pursue her Doctoral degree after she completed her master' s degree in

      Psychological Counseling, with an anticipated graduation date in May 2015.

  40. As a graduate student, Plaintiff also worked at a local bakery to supplement her income.

  41. Upon information knowledge, all Defendants and other individuals named by Plaintiff in this

      complaint are either Caucasian, or wh ite, except for Defendant Anderson.

  42. Upon information and knowledge, Plaintiff was the subject of this criminal activity based on her

      race (black or African American), color, and gender.

  43 . During her schooling, Plaintiff was being harassed by Defendant Jodry.

  44 . Defendant Jodry frequently attempted to engage Plaintiff in unnecessary and sadistic

      conversations with her for no reason, all of which made Plaintiff uncomfortable.

  45. Defendant Jody also spoke to the class about the manner she has gotten away with criminal

      activity.

  46. Defendant Jodry found out where Plaintiff lived and began harassing Plaintiff.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 7 of 45 PageID: 7

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  47. Plaintiff contested Defendant Jodry ' s harassment and bullying against her and told Jodry to

      " leave me alone" (sic).

  48. Following Plaintiffs complaint of Defendant's Jodry 's harassment against her to her advisor,

      Plaintiff was told she no longer mad to attend Defendant Jodry ' s class, and Plaintiff could submit

      her assignments through her advisor, Gary Handler.

  49. Defendant Jodry ' s behavior was so distressing to Plaintiff that she filed a harassment complaint

      against Defendant Jodry with Defendant Anderson, and her advisor.

  50. In contrast, after Plaintiff complained to Defendant Anderson, Defendant Dimenna began to

      harass Plaintiff.

  51. Plaintiff filed a police report against Defendants Jodry, Dimenna, and Kapalka, and Monmouth

      university police issued an order of protection against Defendants.




  52. Monmouth University police issued a protection order on behalf of Plaintiff based on her claims

      against Defendants Jodry, Dimenna, Kapalka, and Suzanne Fico with university police.

  53 . Defendant Anderson failed to pursue or investigate Plaintiffs claims, and the harassment and

      bullying against Plaintiff began to escalate.

  54 . In fact, Defendant Anderson failed to reach out to Plaintiff until after she was victimized in bias

      hate crimes, aggravated assaults, and criminal drugging.

  55 . In the email, Defendant Anderson indicated she can meet Plaintiff in person or over the phone to

      lodge her complaints.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 8 of 45 PageID: 8

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Letter to Schedule Meeting                                                                                                                                     I(
~   Anderson 1 Nina <nancterso,imonmou hedu,                                                                              Fri, Apt 10, 2015. 301 PM    *       ~
tome •
Dear Ms. Reaves:


This letter serves as a confirmation receipt of your letter dated March 8th, .2015. As you are aware, in order to conduct a meaningful investigation. lwill need to spe
wtth you as the individual who filed the complaint with the Office of Equi~ and Diversity. Please let me know your availability to scheduleameeting which can take
place in person or vfa telephone. I anticipate the meeting to last at least 45 minutes.

Regards,
Nina

Nina M.Anderson
Director
Office of Equity and Diversity
Monmouth University
West Long Branch, NJ 07764
(732) 571-7577 phone
(732}263-5140 fax
nanderso@monmouth.edu
www.monmouth.edu


    56. However, in 2019, Plaintiff received this email from Defendant Anderson .


Lastly, you may be aware that a letter banning you f rom Monmouth University's campus, including off campus hou.sing or t he Graduate Center, was issued b•
the Monmouth University Police Department (MUPD) in 2016 which is still in effect. If you find that you need to visit any of the University campus, please
contact the MUP0 in advance at (732) 571-4444.


Please let me k.now if you have any questions or concerns.


Thank you,
Nina


NINA ANDERSON
Director
Title IX Coord inator and ADA/ 504 Coordinator
Office o f Eq uity an d Diversity
 o 732.571 .7577f 732.263.5140

 MONMOUTH                        400 Cedar Avenue
                                 West Long Branch, NJ 07764
       UNIVERSITY
                                    mcnmouth.edu
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 9 of 45 PageID: 9

                                                     9


  57. (I digressed) Defendant Jodry became more aggressive with Plaintiff.

  58. Defendant Jodry would discuss the manner her manipulative and sadistic manner of thinking has

      gotten her out of criminal behavior, and the manner she intended to get a student out of the

      university if she ever felt provoked .

  59. Defendant Dimenna went into the system and repeatedly dropped all of Plaintiffs classes for the

      following semester, which directly impacted her financial aid and her housing.

  60. Defendant Dimenna told Plaintiff these actions were deliberate, and the only manner she wou ld

      be able to remain enrolled at the school for the following semester is if Plaintiff paid the school

      for housing and her classes in full , which was distressing to Plaintiff.

  61 . At that time, Plaintiff could not afford to pay the school close to $30,000 in such a short time

      frame, working part-time.

  62 . And since Defendant Dimenna represented the Office of the President of the school at that time,

      when Plaintiff went to the Registrar in an attempt to resolve this new issue, she was told they

      could not re-enroll Plaintiff in classes unless they received authorization from Defendant

      Dimenna.

  63 . Based on the circumstance, Plaintiff felt like she was being terrorized .

  64 . Plaintiff felt a sense of foreboding through the semester which continued through her last final

      exam at the end of December 2014.

  65. On or about January 11   ° 2015 , Plaintiff received a phone call from Defendant Nagy in student
                               1
                                   ,




      services requesting for Plaintiff to meet with Nagy related to Defendant Jodry.

  66. Plaintiff agreed since she thought this might resolve the criminal activity targeted towards her by

      members of Monmouth University.

  67 . In the meeting, however, Nagy yelled at Plaintiff and threatened her, her graduate education, and

      her housing.

  68. Plaintiff felt uncomfortable with Defendant Nagy ' s dialog, and she left the meeting.

  69. By this point in time, Plaintiff was nearing break-down.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 10 of 45 PageID: 10

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   70. On January 12t11, 2015, after a harassing call from Defendant Nagy, Plaintiff reiterated that she

       wanted Defendant Jodry to ' leave her alone ', and sent a family picture of the reason she attended

       graduate school in the first place.

   7 I. Plaintiff explained the issue to Ryan Kassick in Student Housing at Monmouth University, and he

       granted her an extension to remain in off-cam pus housing unti I in or about January 15 1\ 2015.

   72 . Sometime in between, Defendant Kapalka called the school and changed Plaintiffs graduation

       from May 2015 to January 15 th 2015 in the absence of Plaintiffs authorization.


     From: Kapa! a, George <gkap;Jlka®mgnrnouth du>
     Sent: Sunday,. December 7, 2014 2:34 PM
     To: Jacquetyn S. Reaves; Handler, Gary
     Subjec : RE: Regarding Job Prospects.

     Ms. R aves.

     We have made an agret!ment for you to grad att> withv,11. at Ing Practicum. predicated upon your graduatloll a       h t'rd
     oi this semester. A5 per the terms of thrs agr .enPn yt'lu .;ire not author12ed to ta e fur her classes at his time, and you
     hove been remov d from alt courses for which you re 1ster d m he Spring semester. Pleuiie apply for graduat ion.

     George M ,apalka PhD, ABPP
     Profes.sor S Chair
     Department ol Ps c olog1c;,il Cou, seling
     Monmouth Urwersity
     WeS1 Long Branc        J 07764
     732.-263-5583 Fax 732-923-4661
     Web site ..http:1/bluehaw .monmouUJ.edu/~a kapal ·al
     Dept web sire htt ://www,monmo th.edutschool-o • manities-soc1al-sc,e ces/osycholog1ca!-counselr g.a sox
     email g ,apaf~,e~monl'Y\OU h ed




   73. At that time, Plaintiff only completed 27 credit hours in the Psychological Counseling department

       at Monmouth University, in a 30-credit hour program .

   74. Although Plaintiff earned graduate credits at another university, she did not have enough time to

       transfer the credits to graduate in January 2015.

   75 . Plaintiff would also have no place to live if she graduated by January 2015.

   76. Plaintiff called back the department at Monmouth University responsible for scheduling

       graduations and changed her graduation back to May 2015.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 11 of 45 PageID: 11

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   77 . By this time, Plaintiff could not sleep, was visibly distressed, and she was on the verge of a

       breakdown .

   78. On January 12t11, 2015 , Plaintiff had a breakdown and sent an email to Defendant Nagy indicating

       "frankly" Plaintiff knows ' all she needs to know ' about Defendant Jodry through lecture.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 12 of 45 PageID: 12

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    o Mary, mjone-s •




    On Mon, Jan 12, 2015 at 10:40 AM, Jacquelyn r <jacguelyn reave~@gmaitcom> wrote:
      Good Morning, Mrs. Nagy, and Mrs. Jones:

      Frankly I know more about Joanne than I ever wanted to know through her lecturn,.


   79. In tears, Plaintiff emailed a picture of Plaintiff with her niece and her dog a couple minutes a

       couple minutes later, to express (during her breakdown) that her family is the reason she was in

       graduate school in the first place.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 13 of 45 PageID: 13

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   80. Since Defendant Anderson never hel ped Plaintiff or addressed the issue, Plaintiff reached out to

       Defendant Dianna for intervention .

   8 I. Shortly after Plaintiff scheduled an appointment to meet with Defendant Dianna, Plaintiff

       received an email from Defendant Dimenna indicating she must pay for her tuition and apartment

       in full, or otherwise vacate the premises no later than January 14th , 20 15.

   82. The appointment was scheduled for January 13t1,, 2015, at 9am.

   83. In or about the first week of January 2015, Plaintiff noticed Long Branch police began to circle

       her apartment.

   84. Plaintiff was scared and on edge since she knew something bad was going to happen to her in the

       absence of Defendant Anderson addressing her complaints.

   85. The morning of January 13t1,, 2015 , Plaintiff received a call from Defendant Dianna's secretary

       requesting from Plaintiff to attend the meeting at 3pm, instead of 9am.

   86. By this time, Plaintiff was in duress.

   87. When Plaintiff arrived at the meeting, she was escorted into Defendant Dianna's office by

       Defendant Diana's secretary, and she was alarmed to see two males sitting in long trench coats

       that ran towards Plaintiff after she began to slowly step back towards the door.

   88. The unidentified individuals were Defendant Mitchell and Defendant Vollbrecht.

   89 . Defendants Mitchell and Vollbrecht violently twisted Plaintiff's arms behind her back, forcefully

       pushed her against a wall, handcuffed her, and dragged Plaintiff out of the back of the Wilson

       Hall.




   90. Then Mitchell and Vollbrecht hit her head as they pushed her into a Neptune City Police car.

   91. Defendant Mitchell and Vollbrecht then transported Plaintiff to Monmouth medical.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 14 of 45 PageID: 14

                                                   14


   92. Plaintiff had no idea what was happening, and she was scared since she felt like she was being

       kidnapped .

   93 . Prior to this heinous incident, Defendants Mitchell and Vollbrecht illegally searched Plaintiffs

       apartment, and Defendant Mitchell called Long Branch police and told them to "pick her up" if

       they saw Plaintiff.

   94. Defendant Dimenna then called Defendants Layton who called Defendant Mitchell and

       Vollbrecht and informed them of the meeting between Plaintiff and Defendant Diana without

       Plaintiffs knowledge on January 13 1\ 2015 .



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   95. This was the reason Defendant Diana's secretary called Plaintiff to reschedule the meeting from

       9am to 3pm in the afternoon, without Plaintiffs knowledge.

   96. Upon arrival, Defendant Layton escorted Defendants Mitchell and Vollbrecht to meet with

       Defendants Dimenna and Diana.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 15 of 45 PageID: 15

                                                     15


    97 . Upon Plaintiff's arrival, and still in the absence of speaking to Plaintiff, Defendants Mitchell and

        Vollbrecht used excessive force and slammed Plaintiff into a wall.




    98. Defendants told Plaintiff the reason they were assaulting her was because of Defendant Jodry.

    99. Upon arrival , and at the direction of Defendant Rafainello, Defendant Vollbrecht and Monmouth

        medical security then sequestered sequestered Plaintiff in a back room , they stripped her naked,

        and strapped her to a hospital bed.

    100.        Defendant Rafainello then began injecting Plaintiff with unknown drugs all of which

        Plaintiff objected to and without her authorization .




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                    t      inte. She

    10 I.       Defendant Rafaniello continued this practice for the rest of the day and throughout the

        entire night strapped to the bed while Defendant Trachta watched.

    102.        Defendant Rafinello also told Plaintiff that she can insert a catheter into Plaintiff since the

        Defendants refused her access to a bathroom .

    I 03.       Defendant Rafinello then ordered the men to hold her down unstrap Plaintiff and redress

        Plaintiff in hospital scrubs.

    104.         When Plaintiff demanded the reason why she was at Monmouth Medical from Defendant

        Trachta, Trachta indicated he is a screener, he was screening Plaintiff while she was strapped to
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 16 of 45 PageID: 16

                                                    16


       the hospital bed, and he received Plaintiffs information from Defendant Mancini (at Monmouth

       University), in the absence of Plaintiffs permission.

   105.        Plaintiff was confused, scared, and she eventually passed out due to the unnecessary

       drugging.

   I 06.       Plaintiff later found out that Defendant Nagy approached Defendant Jodry with the email

       Plaintiff sent to Defendant Nagy of Plaintiffs family picture of Plaintiff (black), her niece (who is

       white, and who was 4 years old in the picture), and her dog.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 17 of 45 PageID: 17

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 o Mary, mjones ...




 On Mon, Jan 12, 2015 at 10~40 AM, Jacquelyn r <jaQJuelyn r aves@gn aitcon1> wrote:
   Good Morning, Mrs. Nagy, and Mrs. Jones:

   Frankly, I know more about Joannethan I ever wanted to know throughher lecture.


    I 07 .        Defendant Jodry then approached Defendants Mitchell and Vollbrecht at Neptune City

         Police to file a fal se police report against Plaintiff.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 18 of 45 PageID: 18

                                                     18


    I 08.       Defendants Mitchell and Vollbrecht were aware of Plaintiff's complaints against

        Defendant Jodry and other Defendants.




   109.         Then Defendants Jodry, Mitche ll, Nagy, and Vollbrecht conspired together to create a

        fa lsified and baseless police report di sregarding Plaintiffs no contract order in the absence of

        arresting Defendants Dimenna, Nagy, and Jodry.

   110.         Defendants Mitchell, Nagy, and Vollbrecht then asked Defendant Jodry if the picture

        Plaintiff sent to Defendant Nagy was a picture of Defendant Jodry and her daughter.

   111.         Defendants Vollbrecht and Mitchell then wrote in the police report that "when

        (Defendant Jodry) looked at the picture she felt that there was more to the picture due to the

        statement [Plaintiff] made in the email" to Defendant Nagy.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 19 of 45 PageID: 19

                                                       19


   112.           However, Plaintiff clearly stated in the email to Defendant Nagy that Plaintiff told

        Defendant Nagy that she wants Defendant Jodry to "leave me alone" (sic).

   113 .          Plaintiff also told Defendant Jodry directly that she wanted Jodry to " leave me alone"

        (sic).




On Mon , Jan 12 , 2015 at 10:40 AM , Jacque lyn r <j aq;~uelyn .reaves@gm ail.com> wrote.:
  Good Morning, Mrs. Nagy. and Mrs. Jones.

  Frankly, I know more about Joan ne than t ever wanted to know through h e r lecture_

  I w ant her to leave me a lone .



  Jacquelyn Reaves


   114.           Plaintiff was erroneously drugged at Monmouth Medical based on her family picture for

          over a month and she was disallowed from signing herself out.

   115.           When Defendants Geller, Kinneman, Santiago, and Chowdhury asked Plaintiff if she

          knew the reason she was at Monmouth Medical, and Plaintiff tried to explain that Defendant

          Jodry and other representatives were harassing her, they increased the drugs and sedatives they

          administered to her against her will.

   1 I 6.         When Plaintiff refused to take the drugs, the Defendants called security and nursing staff

          to restrain Plaintiff, hold her down, and inject her with drugs.

   117.           The more Plaintiff told Defendants Geller, Kinneman, and Santiago what really happened

          the more intense and damaging the drugs became, and the longer Defendants held Plaintiff at

           Monmouth Medical without cause.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 20 of 45 PageID: 20

                                                     20


   118.        Defendants Kinneman and Santiago also told Plaintiff Defendant Mitchell filed a charge

       against Plaintiff for harassment which was alarming to Plaintiff.

   119.        After Plaintiff found out about this charge, she called Neptune City police to pursue

       charges against Defendant Mitchell and V llbrecht.

   120.        Plaintiff spoke to It. Quigliato who laughed at Plaintiff since she could not help from

       slurring her words due to the criminal drugging, he mocked her for still being at Monmouth

       Medical, and he hung up the phone on her.

   121.        This severe sadistic criminal activity against Plaintiff based on her race, color, gender,

       and her family picture has lasted for over several years to cause her irreparable harm and damage.

   122.        The longer Plaintiff was held at M nmouth Medical the more other staff members began

       to complain to Defendants Geller, Kinneman, and Chowdhury, since she did not belong there.

   123 .       The result of this conspired criminal activity ultimately rendered Plaintiff displaced with

       no income, and homeless.

   124.        Some staff members at Monmouth Medical even refused to drug Plaintiff.

   125.        By this time, Defendant Nagy was sending Plaintiff harassing letters to old apartment all

       of which were given to her by Defendants Kinneman, and Santiago at Monmouth medical, to

       torment Plaintiff.

   126.        The letters indicated that Plaintiff is no longer a student at Monmouth University since

       she did not pay her tuition and housing bill, and to remove her belongings immediately.

   127.        Defendant Nagy began calling Plaintiffs family member (her emergency contact) to

       harass her.

   128.        After a month of drugging Plaintiff based on her family picture, Defendant Chowdhury

       told Plaintiff that she wanted a blood sample which Plaintiff refused .

   129.        Shortly after, Defendants Geller, Chowdhury, Kinneman, and Santiago, ordered security

       to put Plaintiff in a strait jacket, they strapped her to a stretcher, and she was transported Trenton
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 21 of 45 PageID: 21

                                                        21


        Psychiatric Hospital, were she drugged in a similar manner for another two months under the

        direction of Defendant Ervilus.

    130.            When Plaintiff arrived at Trenton Psych, Defendant Ervilus asked Plaintiff why she was

        there all of which Plaintiff did not have an answer for at that time.

    131 .           Defendant Ervi lus then told Plaintiff that he ' can read her mind' which was strange and

        distressing to Plaintiff.

    132 .           Defendant Ervi lus then issued an order to continutally drug Plaintiff.

    133.            Staff at Trenton Psych questioned Plaintiff as to the reason she was there since she did

        not belong in the faci lity.

    134.            They attempted to encourage Plaintiff to speak to Defendant Ervi lus.

    135.            However, Plaintiff knew that after Defendant Ervilus declared he cou ld ' read her mind '

        that he was demented, and there was no hope.

    136.            Defendant Ervi lus increased the drugs and he gave her an additional 5mg of

        antipsychotics every other week.

    13 7.           Plaintiff was eventually released two months later after agreeing to a subsidized housing

            program to be released from Trenton Psych, which forced her into Somerset County.

    138.            Plaintiff felt dehumanized, she was severely depressed, cathartic, and she lost her entire

            support system .

    139.            In August 2015, Plaintiff had to present in court in Neptune, New Jersey, to stand against

           false charges Defendant Mitchell and Vo llbrect filed against her for something she never did.

    140.            Defendants Jodry, Mitchell, and Vollbrecht were present in the courtroom to watch

            Plaintiff and torment her.

    141 .           The charges were subsequently dismissed against Plaintiff.

    142.            Plaintiff's body and life felt violated which compelled her to sign criminal charges

            against the defendants.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 22 of 45 PageID: 22

                                                      22


   143 .          In September 2015, Plaintiff called Neptune City police again and spoke to Defendant

       Kirschenbaum , to pursue charges against Defendants Jodry, Mitchell, and Vollbrecht.

   144.           Defendant Kirschenbaum refused to conduct the investigation.

   145.           By this time, Plaintiff was unable to sleep and she was plagued by intrusive nightmares.

   146.           Plaintiff attem pted to sign charges at Neptune City although she was concerned for her

       safety .

   14 7.          When Plaintiff presented the charge paperwork to the clerk at Neptune City Municipal

       Court, the clerk went into the back room and called Defendant Vollbrecht to apprehend Plaintiff,

       without Plaintiffs knowledge.

   148.           Plaintiff began to feel uneasy and nervous, she asked where the bathroom was, and then

       proceeded down the stairs.

   149.           While Plaintiff was walking down the stairs, Defendant Vollbracht began hopping up the

       stairs with a smile on his face to pass Plaintiff.

   150.           Plaintiff was able to make it to her car and quickly leave town .

   151.           Plaintiff then contacted Monmouth County Prosecutor's office to file charges against

       Defendants.

   152.           [n October 20 15, Plaintiff was told by Daniel Newman that he accepted Plaintiffs

       complaint against Defendants Mitchell and Vollbreacht.

   153 .          However, when Plaintiff followed up with Newman, he told Plaintiff that the prosecutor' s

       office refused to investigate.

   154.           Newman told Plaintiff she would have to file a complaint at the borough of Long Branch.

   155 .          After Plaintiff got to Long Branch Police department she told the Lieutenant staff

          sergeant she wanted to pursue charges against the defendants through Long Branch Police

          department.

   156.           The staff sergeant cursed and told Plaintiff that Newman should have taken her

          complaint.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 23 of 45 PageID: 23

                                                       23


   157.           The staff sergeant left his post, told Plaintiff to sit and wait, and he went to the back of

       the precinct to call Newman .

   158.           Plaintiff became increasingly uncomfortable and she decided to gather her paperwork and

       leave the building.

   159.           When Plaintiff got in her car, sher ceived a call from an individual that indicated he was

       a detective with Long Branch Police department.

   160.           The person on the phone told Plaintiff to meet him in the back of the police department

       which alarmed Plaintiff.

   161 .          Plaintiff received a second call from the same person in an anxious and aggressive tone

       this time demanding to know her location, and the make and model of her car.

   162.           During the call, Plaintiff began to hear police sirens, and police cars began to speed up

       and down the street whereby Plaintiff abruptly hung up the phone, and immediately left town.

   163.           Later, Plaintiff found out that during Defendants Mitchell and Vollbrecht phony

          investigation they also contacted Long Bra ch police to apprehend Plaintiff on sight.




   164.             That evening, Plaintiff received a hone call from a family member indicating a

          Sergeant from Toms River Police arrived at their home with a psychiatric screener to assault

          Plaintiff again.

   165 .          The next day, Plaintiff called Toms River police to inquire where the call originated

       from .

   166.           The Sergeant from Toms River police indicated they received the call from Defendant

          Kirschenbaum at Neptune City police.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 24 of 45 PageID: 24

                                                        24


   167.           In 2016, Plaintiff filed a lawsuit against some of the individuals on this case related to the

      ongoing criminal acts against her.

   168.           However, Plaintiff was still in fear, all the criminal activity against her was still influx,

      and she did not yet have all the background information related to the complaint.

   169.           By this time, Plaintiff felt her last resort was to attempt to file charges against the

      defendants at the local police department in Manville, New Jersey.

   170.           When Plaintiff arrived at the police department, and Plaintiff explained what had been

      happening, she was told she was unable to leave the police department until she received a

      psychiatric screen from RWJ University Hospital.

   171.           By this time, Plaintiff felt nervous, exhausted, and defeated.

   172.           The screener told Manville Police that Plaintiff had no choice and was forced transport to

      RWJ .

   173.           At R W J, security and staff attempted to force Plaintiff to take off her clothes and Plaintiff

      refused which agitated the staff members .

   174.           Staff left Plaintiff for several hours and then attempted to inject Plaintiff with a sedative

      "to take the edge off' which Plaintiff also refused.

   175.           After the last refusal, security came with staff to hold Plaintiff down and inject Plaintiff

          which an unknown drug while the Caucasian individuals in the psychiatric ward were speaking to

          doctors and subsequently being released.

   176.           Later that afternoon, Defendant McCall um opened Plaintiff's mouth, forced drugs down

          her throat, pushed her into a room , and locked the door.

   177.           Shortly after, Defendant McCall um opened the door with a syringe and security to hold

          Plaintiff down while he injected her with drugs, then locked her back into the room , in the

          absence of allowing Plaintiff to sign herself out.

   178.           Plaintiff passed out shortly after.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 25 of 45 PageID: 25

                                                      25


   179.           This practice continued at RWJ for more than a week before she was sent to Summit

      Oaks.

   180.           Plaintiff was forced to stay at Summit Oaks for another months under ordered

      unnecessary drugging, before Plaintiff was transferred to Greystone Psychiatric where she stayed

      for another two months, drugged under similar circumstances.

   181.           The staff at Summit Oaks threatened to send Plaintiff to a permanent psychiatric hospital

      based on the narrative in the file created against her based on her family picture.

   182.           After Plaintiff was released from Greystone, Plaintiff was stalked by RW J staff to the

      extent that they even came to her apartment door with Manville Police, and a "doctor' s order"

      from Robert Flowers (license# : 25MB09446200) to remove Plaintiff from the community.

   183.           They also forced Plaintiff to undergo other tests against her will which was humiliating

      and distressing to Plaintiff.

   184.           The second time Plaintiff was forced to go to RWJ, she was committed by Defendant

      Cavella with the assistance of two officers from Somerville Police Department.

   185.           When Plaintiff arrived to RWJ with the officers, they attempted to have her take off her

      clothes again which was against policy.

   186.           Plaintiff refused and was told to wait in a room.

   187.           A few minutes later, Defendant Cavella re-entered the room Plaintiff was in with hospital

      staff and security, with a syringe to assault Plaintiff.

   188.           Plaintiff was able to deescalate the situation and Defendant Cavella staff, and security left

      the room.

   189.           When Defendant Cavella walked by the room to go on break, Plaintiff said, "you know

          you were just about to assault me, right", Cavella responded, "yes, ma' am" , and walked away.

   190.           Plaintiff was held over a week at RW J, and she was eventually sent to St. Francis

          psychiatry in Trenton, New Jersey for a month, and drugged accordingly.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 26 of 45 PageID: 26

                                                     26


    191.         Sometime in 2017, Plaintiff was again forced transport by a person named Linda and

        Defendant Ozolins (license#: 44SC05600400) by Manville Police to RWJ university hospital,

        where she was again removed from the community.

    192.         This time, she was assaulted by security and staff to hold Plaintiff down to involuntarily

        take Plaintiff's blood .

    193 .        Prior to doing this, the staff ripped off Plaintiff's clothes and injected her with unknown

        sedatives while being held down by security and Defendant Cavella.

    194.         Plaintiff remained at RWJ for another week under the same conditions and was

        eventually tran sported back to Greystone Psychiatric Hospital, where she remained for another

        two months while being drugged with more antipsychotics.

    195.         Also in 2017, Plaintiff received a letter from Defedant McElrath to threaten Plaintiff

        stating he would arrest her if she ever stepped foot back on Monmouth University.

    196.         Plaintiff still has not formerly graduated from the Master' s program at Monmouth

        University, nor has she received her diploma to date.

    197.         In 2019, Plaintiff reproached Monmouth County Prosecutor' s office and the office of the

        Attorney General to investigate the ongoing criminal activity against her.

    198.         While the prosecutor' s office said they would not investigate, she did receive several

        harassing phone calls from the sergeant in charge (officer Ferriera?), the actual person who had

        been refusing to investigate since 2015.

    199.         Elizabeth Reubman at the Office of the Attorney General eventually stopped returning

        Plaintiff's calls, and Gurbir Grewal (former AG) never returned her voice messages.

   200.          On May 11 1\ 2021 , Plaintiff received a letter from the State of New Jersey instructing her

        to file a "meritorious claim" in Court against the state and defendants.

   20 l .        Plaintiff has been irreparably damaged, she has been unable to obtain or retain gainful

        employment, and she has not been able to obtain therapy.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 27 of 45 PageID: 27

                                                       27


   202 .          However, Plaintiff was able to obtain proof from a licensed clinical social worker in

       North Carolina that she still has not recovered from any of the hate crimes against her.

                                                                                                                H
                  her case. Jacquelyn reported she was Involuntary held the Monmouth Medical (,enter for 7~ ,~urs
                  and $h did not respond well to the sedative's the was administered, which caused -nunexp ··~d
                  medical and mental hralth dlsablllty. Ja,quelyn has not recovered from the ·incident and she,
                  continues to struggle wi hi perslstent memory lntrus ans that·h ve prevented Jacquelynfrom ~
                  recovery and able to fun· Ion ·in h rtho~en profession for the last seven years.            I
   203.           Upon information and knowledge Monmouth University ' s policy and law prohibits its

       employees from engaging in the harassment of students, conspiring with staff and law

       enforcement to commit hate crimes against the protected class, lie under oath, stalk, assault,

       and/or retaliate against them for opposing, protesting, and complaining about harassment, to

       purposely and deliberately humiliate, displace, and cause irreparable physical and bodily harm,

       based on race, color, and gender.

   204.           Upon information and knowledge, Monmouth University police ' s policy and law

       prohibits its police officers and law enforcement officials from conspiring to engage in hate

       crimes against the protected class, and facilitate unjustified acts against a victim of crime with an

       order of protection, to assist in the cause of irreparable physical and bodily harm, based on race,

       color, and gender.

   205.           Upon information and knowledge Neptune City Police ' s policy and law prohibits its

          police officers and law enforcement officials to conspire against citizens to deliberately falsify

          police reports, and execute phony investigations against the innocent, script false charges, commit

       hate crimes against the protected class, assault, and corroborate with other police and individuals

          in the legal and medical/licensed community to agg. assault solely based on her race, color, and

       gender.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 28 of 45 PageID: 28

                                                        28


   206.           Upon information and knowledge Monmouth Medical 's policy and law prohibits

          employees from conspiring to assault an individual, strip naked, and repeatedly and forcefully

          agg. assault individuals with unknown drugs for excessive periods of time in the absence of

          pretense, humiliate them, and damage their character based on race, color, and gender.

   207.           Upon information and knowledge, Trenton Psych 's policy and law prohibits employees

       from illegal, unlawful, and excessive drugging with or without pretense.

   208.           Upon information and knowledge RWJ University hospital ' s policy prohibits and law

       prohibits employees from conspiring to physically assault an individual, rip off their clothes,

       threaten them, and repeatedly and forcefully assault that individual with unknown drugs for

       excessive periods of time in the absence of pretense, strip them from the community, humiliate

       them and damage their character based on race, color, and gender, for protesting aggravated

          assaults and harassment.


                                                FIRST COUNT


                          Hate Crimes - Bias Intimidation (N.J.S.A. 2C:16-1 et seq)


   209.           Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein .

   210 .          N.J.S.A 2C: 16-1 states in relevant part as follows:

   (a) Bias Intimidation . A person is guilty of the crime of bias intimidation if he commits, attempts to

          commit, conspires with another to commit, or threatens the immediate commission of an offense

          specified in chapters I I through 18 of Title 2C of the New Jersey Statutes; N.J.S.2C:33-4;

          N.J.S.2C:39-3; N.J.S.2C:39-4 or N .J.S.2C:39-5 ,

          ( 1)with a purpose to intimidate an individual or group of individuals because of race, color,

          religion, gender, disability, sexual orientation, gender identity or expression, national origin, or

          ethnicity; or

          (2)knowing that the conduct constituting the offense would cause an individual or group of

          individuals to be intimidated because of race, color, religion, gender, disability, sexual
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 29 of 45 PageID: 29

                                                    29


      orientation, gender identity or expression, national origin, or ethnicity; or



      (3)under circumstances that caused any victim of the underlying offense to be intimidated and the

      victim, considering the manner in which the offense was committed, reasonably believed either

      that (a) the offense was committed with a purpose to intimidate the victim or any person or entity

      in whose welfare the victim is interested because of race, color, religion, gender, disability, sexual

      orientation, gender identity or expression, national origin, or ethnicity, or (b) the victim or the

      victim's property was selected to be the target of the offense because of the victim's race, color,

      religion, gender, disability, sexual orientation, gender identity or expression, national origin, or

      ethnicity.

      (b) Permissive inference concerning selection of targeted person or property. Proof that the target

      of the underlying offense was selected by the defendant, or by another acting in concert with the

      defendant, because of race, color, religion, gender, disability, sexual orientation, gender identity

      or expression, national origin, or ethnicity shall give rise to a permissive inference by the trier of

      fact that the defendant acted with a purpo e to intimidate an individual or group of individuals

      because of race, color, religion, gender, disability, sexual orientation, gender identity or

      expression, national origin, or ethnicity.

      (c) Grading. Bias intimidation is a crime of the fourth degree if the underlying offense referred to

      in subsection a. is a disorderly persons offense or petty disorderly persons offense. Otherwise,

      bias intimidation is a crime one degree higher than the most serious underlying crime referred to

      in subsection a., except that where the underlying crime is a crime of the first degree, bias

      intimidation is a first-degree crime and the defendant upon conviction thereof may,

      notwithstanding the provisions of paragraph (1) of subsection a. ofN.J.S.2C:43-6, be sentenced to

      an ordinary term of imprisonment betwee 15 years and 30 years, with a presumptive term of 20

      years.

      (d) Gender exemption in sexual offense rosecutions. It shall not be a violation of subsection a. if
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 30 of 45 PageID: 30

                                                      30


       the underlying criminal offense is a violation of chapter 14 of Title 2C of the New Jersey Statutes

       and the circumstance specified in paragraph (1 ), (2) or (3) of subsection a. of this section is based

       solely upon the gender of the victim.

       (e) Merger. Notwithstanding the provisions ofN.J.S.2C: 1-8 or any other provision of law, a

       conviction for bias intimidation shall not merge with a conviction of any of the underlying

       offenses referred to in subsection a. of this section, nor shall any conviction for such underlying

       offense merge with a conviction for bias intimidation. The court shall impose separate sentences

       upon a conviction for bias intimidation and a conviction of any underlying offense.


   (h) It shall not be a defense to a prosecution for a crime under this section that the defendant was

   mistaken as to the race, color, religion , gender, disability, sexual orientation, gender identity or

   expression, national origin, or ethnicity of the victim.


   211.           Defendants committed, attempted to commit, conspired with another to commit, or

       threatened the immediate commission of an offense based on Plaintiffs race, and color which is

          illegal and unlawful under laws against bias intimidation in the State of New Jersey, and the

       Constitution.

   212 .          Plaintiff was subjected to bias intimidation based on her race (black or African

       American) before, and after she opposed, protests, and complained about illegal and unlawful

          practices orchestrated against her contrary to New Jersey State law and statue and the United

          States Constitution .

   213.           Defendants violated the above section by criminally conspiring against Plaintiff solely to

          based on her race and her complaints of harassment.

   214.           As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                             SECOND COUNT


          Hate Crimes - False reports to law enforcement authorities (N.J.S.A. 2C:28-4 et seq)
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 31 of 45 PageID: 31

                                                       31


   215.          Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein.

   216.          N.J.S.A. 2C:28-4 states in relevant part as follows:

   (a) Falsely incriminating another. A person who knowingly gives or causes to be given false

          information to any law enforcement officer with purpose to implicate another commits a crime of

       the fourth degree.

   (b) Fictitious reports. A person commits a disorderly persons offense if he:

       (I) Reports or causes to be reported to law enforcement authorities an offense or other incident

       within their concern knowing that it did not occur; or

       (2) Pretends to furnish or causes to be furnished such authorities with information relating to an

       offense or incident when he knows he has no information relating to such offense or incident.

   217.          Defendants colluded with law enforcement officials to create an unsubstantiated and false

       police report predicated on Plaintiffs race without cause to deliberately cause her harm.

   218.          Defendants violated the above section by criminally conspiring against Plaintiff solely

       based on her race, color, and gender, and to defame her character.

   219.          As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                               THIRD COUNT


                 Hate Crimes-Aggravated Assault and Battery (N.J.S.A. 2C:12-1 et seq)


   220.          Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein .

   221.          N.J.S.A. 2C:12-I states in relevant part as follows:


   (a) Simple assault. A person is guilty of assault ifhe:

   (I) Attempts to cause or purposely, knowingly or recklessly causes bodily injury to another; or

   (2) Negligently causes bodily injury to another with a deadly weapon ; or

   (3) Attempts by physical menace to put another in fear of imminent serious bodily injury.

   Simple assault is a disorderly persons offense unless committed in a fight or scuffle entered into by
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 32 of 45 PageID: 32

                                                      32


   mutual consent, in which case it is a petty disorderly persons offense.

   (b) Aggravated assault. A person is guilty of aggravated assault if he:

   (l)Attempts to cause serious bodily injury to another, or causes such injury purposely or knowingly

   or under circumstances manifesting extreme indifference to the value of human life recklessly causes

   such injury; or

   (2)Attempts to cause or purposely or knowingly causes bodily injury to another with a deadly

   weapon; or

   (3)Recklessly causes bodily injury to another vith a deadly weapon; or


   (6) Causes bodily injury to another person while fleeing or attempting to elude a law enforcement

   officer in violation of subsection b. ofN .J.S.2C:29-2 or while operating a motor vehicle in violation

   of subsection c. ofN.J .S.2C:20-I 0. Notwithstanding any other provision of law to the contrary, a

   person shall be strictly liable for a violation of this subsection upon proof of a violation of subsection

   b. ofN.J.S.2C:29-2 or while operating a motor vehicle in violation of subsection c. ofN.J.S.2C:20- I 0

   which resulted in bodily injury to another person; or

   (7)Attempts to cause significant bodily injury to another or causes significant bodily injury purposely

   or knowingly or, under circumstances manifesting extreme indifference to the value of human life

   recklessly causes such significant bodily injury;


   Aggravated assault under subsections b. (I) and b. ( 6) is a crime of the second degree; under

   subsections b. (2), b. (7), b. (9) and b. (I 0) is a crime of the third degree; under subsections b. (3) and

   b. (4) is a crime of the fourth degree; and under subsection b. (5) is a crime of the third degree if the

   victim suffers bodily injury, otherwise it is a crime of the fourth degree. Aggravated assault under

   subsection b.(8) is a crime of the third degree if the victim suffers bodily injury; if the victim suffers

   significant bodily injury or serious bodily injury it is a crime of the second degree. Aggravated assault

   under subsection b. (11) is a crime of the third degree.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 33 of 45 PageID: 33

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   222.           Defendants subjected Plaintiff to several severe extensive aggravated assaults against her

         mind and physically aggressive against her body on several instances against New Jersey State

          law and statute and the United States Constitution, to deliberately cause her harm .

   223 .          Defendants violated the above section by criminally conspiring against Plaintiff solely

         based on her race, color, and gender.

   224.           .As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                              FOURTH COUNT


                                   Official Misconduct (N.J.S.A 2C:30-2)


   225 .          Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein.

   226.           N.J.S.A 2C:30-2 states in relevant part as follows:


   A public servant is guilty of official misconduct when, with purpose to obtain a benefit for himself or

   another or to injure or to deprive another of a benefit:

   (a)            He commits an act relating to his office but constituting an unauthorized exercise of his

   official functions , knowing that such act is unauthorized or he is committing such act in an

   unauthorized manner; or

   (b)            He knowingly refrains from performing a duty which is imposed upon him by law or is

   clearly inherent in the nature of his office.

   Plaintiff was subjected to severe extensive aggravated assaults against her under New Jersey law and

   statute, supported by the Constitution of the United States by Defendants.


   227.           Defendants colluded with law enfi rcement officials to create an unsubstantiated and false

          police report predicated on Plaintiff's race without cause to deliberately cause her harm.

   228.           Defendants violated the above section by criminally conspiring against Plaintiff solely

          based on her race, color, and/or gender, Plaintiff opposed, protested, and complained of the illegal

          acts and practices that were criminal and unlawful.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 34 of 45 PageID: 34

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   229.               As a result, Plaintiff suffered extensive irreparable harm and is damaged.




                                                    FIFTH COUNT


                                             Stalking (N.J.S.C 2C:12-10)


   230.               Plaintiff repeats and re-alleges the foregoing allegation as if fully set forth herein .

   231.               N .J .S.C 2C: 12-10 states in relevant part as follows:

   (a) As used in this act:

       ( I )"Course of conduct" means repeatedly maintaining a visual or physical proximity to a person ;

       directly, indirectly, or through third parties, by any action, method, device, or means, following,

       monitoring, observing, surveilling, threatening, or communicating to or about, a person, or

          interfering with a person's property; repeatedly committing harassment against a person; or

       repeatedly conveying, or causing to be conveyed, verbal or written threats or threats conveyed by

       any other means of communication or threats implied by conduct or a combination thereof

       directed at or toward a person .

       (2)"Repeatedly" means on two or more occasions.

       (3)"Emotional distress" means significant mental suffering or distress.

       (4)"Cause a reasonable person to fear" means to cause fear which a reasonable victim, similarly

       situated, would have under the circumstances.

          (b)         A person is guilty of stalking, a crime of the fourth degree, if he purposefully or

          knowingly engages in a course of conduct directed at a specific person that would cause a

          reasonable person to fear for his safety or the safety of a third person or suffer other emotional

          distress.

          (c)         A person is guilty of a crime of the third degree if he comm its the crime of stalking in
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 35 of 45 PageID: 35

                                                         35


       violation of an existing court order prohibiting the behavior.

       (d)         A person who commits a second or subsequent offense of stalking against the same

       victim is guilty of a crime of the third degree.

   232.            Plaintiff was subjected to severe and extensive stalking by Defendants against New

       Jersey law and statute and the United States Constitution.

   233.            As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                                 SIXTH COUNT


                                   Criminal Harassment (N.J.S.A 2C:33-4)


   234 .           Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein.

   235 .           N.J.S.A 2C:33-4 states in relevant part as follows:


   Except as provided in subsection e., a person commits a petty disorderly persons offense if, with

   purpose to harass another, he:

   (a) Makes, or causes to be made, a communication or communications anonymously or at extremely

    inconvenient hours, or in offensively coarse language, or any other manner likely to cause annoyance

   or alarm;

   (b)Subjects another to striking, kicking, shoving, or other offensive touching, or threatens to do so; or

   (c.) Engages in any other course of alarming conduct or of repeatedly committed acts with purpose to

   alarm or seriously annoy such other person.


   236 .           Defendants subjected Plaintiff to severe and extensive harassment against New Jersey

           law and statue and the United States Constitution .

    237.           As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                               SEVENTH COUNT


                                 Discrimination in Violation of 42 U.S.C 1981
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 36 of 45 PageID: 36

                                                      36


    23 8.       Plaintiff repeats and re-alleges the forego ing allegations as if fully set forth herein .

    239.        42 U.S.C. 1981 states in relevant part as follows:

    (a) State of equal rights

        All persons within the jurisdiction of the United States shall have the same right in every State

        and Territory to make and enforce contracts, to sue, be parties, give evidence, and to the full and

        equal benefit of all laws and proceedings for the security of persons and property as is enjoyed by

        white citizens, and shall be subject to like punishment, pains, penalties, taxes, licenses, and

        exactions of every kind, and to no other.

   (b) "Make and enforce contracts" defined

        For purposed of this section, the terms "to sue", "give evidence", "and to the full and equal

        benefit of all laws and proceedings for the security of persons and property as is enjoyed by white

        citizens, and shall be subject to like punishment, pains, penalties, taxes, licenses, and exactions of

        every kind, and to no other", includes enjoyment of all privileges, terms, and conditions of

        citizenship, and applicable laws. 42 U .S.C. 1981.

    240 .       Defendants violated the section above by subjecting Plaintiff to relentless aggravated

        assaults, hate crimes, and incessant discrimination, solely based on her race (black or African

        American), color, and gender, and by retaliating against her for her complaints of harassment, and

        discrimination against New Jersey State law and statute and the United States Constitution.

    241.        As a result, Plaintiff suffered extensive irreparable harm and is damage.


                                             EIGHTH COUNT


                                               42   u.s.c. 1985

    242.        Plaintiff repeats and re-alleges the foregoing allegations as iffully set forth herein.

    243.        42 U.S.C. 1985 states in relevant part as follows:


    (2) Obstructing Justice
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 37 of 45 PageID: 37

                                                     37


   If two or more persons in any State or Territory conspire to deter, by force, intimidation, or threat,

   any party or witness in any court of the United States from attending such court, or from testifying to

   any matter pending therein, freely, fully, and truthfully, or to injure such party or witness in his

   person or property on account of his having so attended or testified, or to influence the verdict,

   presentment. or indictment of any grand or petit juror in any such court, or to injure such juror in his

   person or property on account of any verdict, presentment or indictment lawfully assented to by him,

   or of his being or having been such juror; or if two or more persons conspire for the purpose of

   impeding, hindering, obstructing, or defeating. in any manner, the due course of justice in any State or

   Territory, with intent to deny to any citizen the equal protection of the laws, or to injure him or his

   property for lawfully enforcing, or attempting to enforce, the right of any person, or class of persons.

   to the equal protection of the laws;


   (3) Depriving Persons of Rights of Priv ileges


   If two or more persons in any State or Territory conspire or go in disguise on the highway or on the

   premises of another, for the purpose of depriving, either directly or indirectly, any person or class of

   persons of the equal protection of the laws, or of equal privileges and immunities under the laws; or

   for the purpose of preventing or hindering the constituted authorities of any State or Territory from

   giving or securing to all persons within such State or Territory the equal protection of the laws; or if

   two or more persons conspire to prevent by force, intimidation, or threat, any citizen who is lawfully

   entitled to vote, from giving his support or advocacy in a legal manner, toward or in favor of the

   election of any lawfully qualified person as an elector for President or Vice President, or as a Member

   of Congress of the United States; or to injure any citizen in person or property on account of such

   support or advocacy; in any case of conspiracy set forth in this section, if one or more persons

   engaged therein do. or cause to be done, any act in fu11herance of the object of such conspiracy,

   whereby another is injured in his person or property, or deprived of having and exercising any right or

   privilege of a citizen of the United States, the party so injured or deprived may have an action for the
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 38 of 45 PageID: 38

                                                      38


   recovery of damages occasioned by such injmy or deprivation, against any one or more of the

   conspirators.


   244.          Defendants violated this section by conspiring against Plaintiff and through the use of

       force and excessive drugs deliberately deprive her of her rights and equal privileges against New

       Jersey State law and statute and the United States Constitution.

   245.          As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                              TENTH COUNT


                                               42   u.s.c 1988

   246.          Plaintiff repeats and re-alleges the foregoing allegations as iffully set forth hereing:

   247.          42 U.S.C. 1988 states in relevant part as follows:


   (a)APPLI CABILITY OF STATUTORY AND COMMON LAW



       The jurisdiction in civil and criminal matters conferred on the district courts by the

       provisions of titles 13, 24, and 70 of the Revised Statutes for the protection of all persons

       in the United States in their civil rights, and for their vindication, shall be exercised and

       enforced in conformity with the laws of the United States, so far as such laws are suitable

       to carry the same into effect; but in all cases where they are not adapted to the object, or

       are deficient in the provisions necessary to furnish suitable remedies and punish offenses

       against law, the common law, as modified and changed by the constitution and statutes of

       the State wherein the court having jurisdiction of such civil or criminal cause is he.Id, so

       far as the same is not inconsistent with the Constitution and laws of the United States,

          shall be extended to and govern the said courts in the trial and disposition of the cause,

       and, if it is of a criminal nature, in the infliction of punishment on the party found guilty.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 39 of 45 PageID: 39

                                                      39


   (b )ATTORN EY'S FEES


      In any action or proceeding to enforce a provision of

       sections 1981 , 1981a, 1982, 1983, 1985, and 1986 of this title, title IX of Public Law 92-

       318 [20 U.S.C. 1681 et seq.], the Religious Freedom Restoration Act of 1993 [42 U.S.C.

       2000bb et seq.], the Religious Land Use and Institutionalized Persons Act of2000 [42

       U.S .C. 2000cc et seq.], title VI of the Civil Rights Act of 1964 [42 U.S.C. 2000d et seq.],

       or section 12361 of title 34, the court, in its discretion, may allow the prevailing party,

       other than the United States, a reasonable attorney ' s fee as part of the costs, except that in

       any action brought against a judicial officer for an act or omission taken in such officer' s

      judicial capacity such officer shall not be held liable for any costs, including attorney ' s

       fees, unless such action was clearly in excess of such officer' s jurisdiction.


   (c)EXPERT FEES


       In awarding an attorney ' s fee under subsection (b) in any action or proceeding to enforce

       a provision of section 1981 or 1981 a of this title, the court, in its discretion, may include

       expert fees as part of the attorney ' s fee.


                                         ELEVENTH COUNT


                              Medical Malpractice (N.J.S.A. 2A:14-2(a)


   248.        Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein:

   249.        N.J .S.A 2A:14-2, "actions for injury caused by wrongful acts", state in relevant part as

       follows :


   (a) Every action at law for an injury to the person caused by the wrongful act, neglect or default of

   any person within this State shall be commenced within two years next after the cause of any such
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 40 of 45 PageID: 40

                                                       40


   action shall have accrued; except that an action by or on behalf of a minor that has accrued for

   medical malpractice for injuries sustained at birth shall be commenced prior to the minor's 13th

   birthday.


   250.           Defendants deliberately violated the section above by subjecting Plaintiff to relentless

       aggravated assaults, relentless drugging, relentless use of force, facilitate hate crimes, solely due

       to her race (black or African American), color, and gender, all of which should be valued

          individually through each separate party involved in each separate occurrence.

   251.           As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                                TWELTH COUNT


                                      Legal Malpractice (N.J.S.A 2A:14-l)


   252.           Plaintiff repeats and re-alleges the foregoing allegations as iffully set forth herein:

   253.           2A: 14-1 (6 years) in relevant part as follows:


       Every action at law for trespass to real property, for any tortious injury to real or personal

       property, for taking, detaining, or converting personal property, for replevin of goods or

       chattels, for any tortious injury to the rights of another not stated in sections 2A: 14-2 and

       2A:14-3 of this Title, or for recovery upon a contractual claim or liability, express or

          implied, not under seal, or upon an account other than one which concerns the trade or

       merchandise between merchant and merchant, their factors, agents and servants, shall be

       commenced within 6 years next after the cause of any such action shall have accrued.


    254.          Defendants deliberately violated the section above by subjecting Plaintiff to relentless

          aggravated assaults, relentless drugging, relentless use of force, facilitate hate crimes, solely due

          to her race (black or African American), color, and gender, all of which should be valued

          individually through each separate party invol ved in each separate occurrence.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 41 of 45 PageID: 41

                                                           41


    255.             As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                              THIRTEENTH COUNT


                                             Title IX (45 C.F.R. § 86.31)


    256.             Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein;

    257 .          Title IX in relevant part as follows:


    (a) General. Except as provided elsewhere in this part, no person shall, on the basis of sex, be

    excluded from participation in, be denied the benefits of, or be subjected to discrimination under any

    academic, extracurricular, research, occupational training, or other education program or activity

    operated by a recipient which receives Federal financial assistance. This subpart does not apply to

    actions of a recipient in connection with admission of its students to an education program or activity

    of (I) a recipient to which Subpart C does not apply, or (2) an entity, not a recipient, to which Subpart

    C would not apply if the entity were a recipient.


    (b) Specific prohibitions. Except as provided in this subsection, in providing any aid, benefit, or

service to a student, a recipient shall not, on the basis of sex:


        (1) Treat one person differently from another in determining whether such person satisfies any

           requirement or condition for the provision of such aid, benefit, or service;


           (2) Provide different aid, benefits, or services or provide aid, benefits, or services in a different

           manner;


           (3) Deny any person any such aid, benefit, or service;


           (4) Subject any person to separate or different rules of behavior, sanctions, or other treatment;


           (5) Apply any rule concerning the domicile or residence of a student or applicant, including

           eligibility for in-State fees and tuition;
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 42 of 45 PageID: 42

                                                         42


       (6) Aid or perpetuate discrimination against any person by providing significant assistance to any

       agency, organization, or person which discriminates on the basis of sex in providing any aid,

          benefit or service to students or employees;


       (7) Otherwise limit any person in the enjoyment of any right, privilege, advantage, or opportunity.


   258 .          Defendants deliberately violated the section above by subjecting Plaintiff to relentless

       aggravated assaults, relentless drugging, relentless use of force, facilitate hate crimes, solely due

       to her race (black or African American), color, and gender, all of which should be valued

          individually through each separate party involved in each separate occurrence.

   259.           As a result, Plaintiff suffered extensive irreparable harm and is damaged.


                                          FOURTEENTH COUNT


                                              Vicarious Liability


   260.           Plaintiff repeats and re-alleges the foregoing allegations as if fully set forth herein.

   261.           Defendants Monmouth University, Monmouth University police, Neptune City police,

          Monmouth Medical, Trenton Psych, and RWJ University hospital through its employees,

          Defendants Jodry, Kapalka, Nagy, Dimenna, Anderson, Diana, Layton, McElrath, Mitchell,

          Vollbrecht, Kirschenbaum, Mancini, Rafinello, Trachta, Geller, Kinneman, Santiago,

          Chowdhury, Ervilus, McCallum, Cavella, and Ozolins, conspired to commit unlawful hate

          crimes, and/or aided and abet to agg. assault Plaintiff.

   262.           Defendants Monmouth University, Monmouth University police, Neptune City police,

          Monmouth Medical, Trenton Psych, and RWJ University Hospital are vicariously liable for the

       actions of its employees, police, lawyers, and licensed professionals and licensed individuals in

          the medical community.

   263 .          As a result, Plaintiff suffered extensive irreparable harm and is damaged.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 43 of 45 PageID: 43

                                                         43


                                            PRAYER FOR RELIEF


WHEREFORE, Plaintiff respectfully requests th is Court grant the following relief:


    A. A declaratory judgment that Defendants engaged in illegal and unlawful practices prohibited Bias

         Intimidation (N.J.S.A. 2C:16-l et seq), False reports to law enforcement authorities (N.J.S.A.

         2C:28-4 et seq), Aggravated Assault and Battery (N.J.S.A. 2C:12-l et seq), Official Misconduct

         (N.J.S.A 2C:30-2), Stalking (N.J.S.A. 2C: 12-10), Criminal Harassment (N .J.S.A 2C: 33-4),

         Discrimination in Violation of 42 U.S.C 1981 , 42 U.S.C. 1985, 42 U.S.C. 1988, Medical

         Malpractice (N.J.S.A. 2A: 14-2(a), Legal Malpractice (N.J.S.A 2A: 14-) and police misconduct (7

         years statute of limitation), and Title IX ..

    B. An injunction against Defendants and their officers, agents, successors, employees,

         representatives and any and all persons acting in concert with them as provided by law, from

         engaging in each of the criminal unlawful practices, policies, and patterns set forth herein;

    C. Award damages to Plaintiff for all lost wages and benefits resulting from Defendants' for

         criminal and unlawful hate crimes, assaults, discrimination and retaliation, and to otherwise make

         her whole for any losses suffered as a result of the criminal illegal and unlawful acts orchestrated

         against her in the sum of $300 million dollars;

    D. Award Plaintiff compensatory damages;

    E. Award Plaintiff punitive damages;

    F. Award Plaintiff economic loss;

    G . An award of statutory penalties, and prejudgment and post judgement interests;

    H . An award of cost and expenses of this action together with Plaintiffs attorneys' and expert fees;

         and

    I.   Such other further relief as this Court deems just and proper.
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 44 of 45 PageID: 44

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                                                        Jacquelyn Reaves, Pro Se
Case 3:22-cv-01782-PGS-RLS Document 1 Filed 03/30/22 Page 45 of 45 PageID: 45

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                                             JURY DEMAND


         Pursuant to Rule 38(b) of the Federal Rules of Civil Procedure, Plaintiff demands trial by jury on

all issues so triable as of right by jury.




Dated:      March 28 th , 2022


                                                                                  Jacquelyn Reaves, Pro Se
